Case 1:i8-cv-52412-YK-RM Document 4 Filed 02/25/19 Page 1 of 5

IN THE UNITED STATES DISTRICT COURT
` FUR THE THIRD CIRCUIT
MIDDLE DISTRICT OF`PENNSYLVANIA

C. late George, _ _ ; _ 1 n _ . 1,.":
" .Petitioner' ' ' ‘ ‘

civil Acnio"n ~No;' § 1-= 18-cv-'62`412`5Y1<-Rf4

(Judge Carlson)

United States of America;
(Warden) D.K. White,

Aner.wood LS<;I, ' ` _ . FILED
` -Respondent(s) 1 l Esczel\FJlFC)PJ _
' FEB 25 2019
PETITIONER S MOTION TO EXPEDTTE
2241 HABEAS coRPuS FILING ` pER

 

wITH THIS coURT UNDER RULE a 1 155qu CLERK
"PRELIMINARY REvlF.w; sE:RvING _
IHE PBTITION AND oRDER."

 

NOW before the Court, Petitioner C. Tate George”S pro se Notion to compel
the Court'to`expedite and Order per the Civ.r. of Proc.Rule 4 preliminary

review; serving the Petition and Order to Respond, Such as:

1) The clerk must promptly forward the petition to a judge under the
court's assignment procedure, and the judge must promptly examine_it, If it
plainly appears from the petition and any attachment exhibits that the petitioner
is not entitled to relief in the district court, the judge must dismiss the
petition and direct the clerk to notify the petitioner. If the petition is
not dismissed, the judge must order the respondent to file an answer, motion,
or other response within a fixed time, or to take other action the judge may
order. In every case, the clerk must serve a copy of the petition and any
order on the respondent and on the attorney general or other appropriate officer

of the state involved.

2) Furthering, Petitioner.asks that the Comn;applied Sections 455-461
of Title 28 USC 1940 ed. under the requirement for return response that states
as follows; '

 

 

 

 

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The requirement for return within 3 days, "unless for good cause additional
time, not to exceed 20 days, "is allowed" in the second paragraph, was substituted
for the provision of such section h55 which allows 3 days for return if within
20 miles, 10 days if more than 30 but not more than 100 miles, and 30 days
if more than 100 miles distant. NOTE: Words "unless for good cause additional y
time is allowed"" in the fourth paragraph were substituted for words "unless
the party petitioning request a longer time" in section 459 of title 28 USC
1940 ed.

'(Notei) Petitioner is 91.4 miles away from the Court at its longest distance,

which means he falls between the 30 and 100 mile benchmark.

3) Petitioner's original 2241 Habeas Corpus Application was filed on
January 22nd, 2019 at 10:45 AM EST and assigned to Magistrate Judge Carlson.
(See Attachment of Order). As of this Motion to this Court, it will be more
than (30) thirty days since Petitioner has respectfully sought relief from
being illegally held at Allenwood»Low Correctional Facility. Per the Civ.R.
'of Proc. Rule é, the Court mg§t act promptly (if there is no reason for a

dismissal) and Order the Respondent to file an answer, or to take other action.

4) Additionally, under Rule 1: Scope and Purpose, it states:

The Rules govern the Procedure in all civil actions and proceedings in
the United States District Court, except as stated in Rule 81. They should
be constructed, administered and employed by the Court and the parties to
"secure the just, speedy and inexpensive determination of every action and
proceeding."'(History:)(Amended April 29, 2015)(eff. Dec. 1, 2015).

WHEREFORE, the Petitioner, C. Tate George, pro se hereby respectfully
understands that the Court must be extremely busy at the time of filing this motion;
however, requests this'Honorable Court to §§§Et this Motion to expedite under Rule
4 and as a matter of law to address Petitioner's illegal incarceration as he
Seeks immediate release from custody; and for such other and further relief

deemed proper and necessary in the interest of Justice.

Dated: February 23, 2019 §§:Ei§z£¢ég:: u itted,

‘ETNTate George/pyb'se/63223-050
LSCI Allenwood

PO Box 1000

White Deer, PA_17887

 

Case 1:18-cv-02412-YK-RI\/| Document 4 Filed 02/25/19 Page 3 of 5

AFFIDAVIT

I HEIREBY CERTIFY that the foregoing facts are true and correct to the best

of my knowledge and belief upon pain ofW d?zl:$€ §1746.

C. [Tate George, pro se /63223- 050
LSCI Allenwood

PO Box 1000

White Deer, PA 17887

CERTIFICATE OF SERVICE
I HE'.REBY CERTIFY that a copy of the following motion to expedite 2241

Habeas Corpus Filing was mailed on this Q;M day of Z~@éMW , 2019,
by first-class mail, postage prepaid to :.':Zack Intrader, AUSA 0ff ce of the

US Attorney, 970 Broad Street, Rm. 700 Newar

 
 
 

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PO Box 1000

White Deer, PA 17887

 

 

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Other OrdersIJudgmer`\ts

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United Slales of America et al

HABEAS_,PROSE,PRSLC

United States District Court

Middle ])istrict of Pennsylvania

Notice of Electronic Filing

The following transaction was entered on 1/22/2019 at.10:45 AM EST and filed on lf22/2019

Case Name: George v. United States of Ameriea et al
Case Number: l :lS-ev-02412-YK-RM
Filer: _

Docurnent Number: No document attached

Doeket Text: .
VERBAL ORDER REFERRING CASE to Nlagistrate Judge Carlson. (jw)

1:1S-c\'-02412-\’l{-RM Notiec has been electronically mailed to:

1:18-cv-02412-YK-RM Filer will deliver notice by other means to::
C. Tate George "
63223-050

FCI Allenwood `

SPECIAL MAIL '- OPEN ONLY IN‘PR_ESENCE OF lNMATE_

P.O. Box 1000
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